
the GHIEF JUSTICE
stated the case and gave the.opinion of the court.
The final decree in the District Court was rendered on ,the 8th September, 1868., and an appeal was allowed, on motion of the claimant, on the 18th November, 1863. Upon this appeal no action- was taken by the appellants. On the .23d February, 1864, an appeal was again allowed, and the record was brought to this court .and filed November 11, 1864.
This was in time, but no citation was issued to the adverse party, and there is nothing to show any waiver; and a citation, with due return, or waiver by general appearance or otherwise, is indispensable to jurisdiction on appeal.*
The writ, therefore, must be
Dismissed.

 Bacon v. Hart, Black, 38; Castro v. United States, 3 Wallace, 49.

